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15   U.S. WECHAT USERS ALLIANCE, et al.,        )   Case No. 3:20-cv-05910-LB
16                                              )
             Plaintiffs,                        )   DEFENDANTS’ OPPOSITION
17                                              )   TO PLAINTIFFS’ MOTION
                           v.                   )   FOR PRELIMINARY
18
                                                )   INJUNCTION
19   DONALD J. TRUMP, President of the United   )
     States, and WILBUR ROSS, Secretary of      )   Date: Sept. 17, 2020
20   Commerce,                                  )   Time: 9:30am
                                                )   Place: San Francisco, CA
21
             Defendants.                        )   Judge: Hon. Laurel Beeler
22   __________________________________________)

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18                         v.                   )   FOR PRELIMINARY
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19   DONALD J. TRUMP, President of the United   )
     States, and WILBUR ROSS, Secretary of      )   Date: Sept. 17, 2020
20   Commerce,                                  )   Time: 9:30am
21                                              )   Place: San Francisco, CA
             Defendants.                        )   Judge: Hon. Laurel Beeler
22   __________________________________________)
23                                                INTRODUCTION
24            For over a decade, it has been a core priority of both Congress and the Executive Branch
25   to address the growing national security threat stemming from China’s activities in the
26   information technology and communications sectors. This threat has accelerated as the Chinese
27   Government simultaneously imposes its “Great Firewall,” blocking hundreds of the most popular
28   media and social networking sites within China, while also deliberately promoting the growth

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 1   and exportation of a select few approved Chinese technology companies with ambitions for
 2   global dominance. There is widespread evidence that these rapidly growing Chinese technology
 3   firms are not purely private, but in fact are intertwined with the Chinese Communist Party
 4   (“CCP”). The close relationships between these firms and the CCP all but ensure the firms’
 5   market control within the Chinese diaspora, thereby allowing the Chinese Government
 6   unprecedented access to user data, increasingly sophisticated artificial intelligence built on such
 7   data, and a growing ability to surveil users, censor content, and spread disinformation. As these
 8   Chinese Government-supported technology and communications firms extend their reach outside
 9   of China, the United States Government has determined, based on years of accumulated
10   experience and intelligence, that they now pose a direct threat to the privacy and security of U.S.
11   persons.
12           The President and Congress have taken numerous steps to respond to this rapidly
13   growing threat. These include numerous legislative enactments, the issuance of Executive Order
14   13873 in May of 2019 declaring a national emergency under the International Emergency
15   Economic Powers Act (“IEEPA”) and the National Emergency Act (“NEA”), and several
16   initiatives to address vulnerabilities in the country’s information and communications technology
17   supply chain. As part of these efforts, on August 6, 2020, the President issued Executive Order
18   13943, 85 Fed. Reg. 48,641 (the “Executive Order”) to address the threat posed by one mobile
19   application in particular: WeChat, a mobile “SuperApp” created and operated by the Chinese
20   firm Tencent Holdings Ltd. (“Tencent”), one of the world’s largest social media companies. The
21   WeChat app collects vast amounts of user data and permits the People’s Republic of China
22   (“PRC”) nearly unmitigated ability to surveil its users and engage in disinformation campaigns.
23           Plaintiffs, a group of WeChat users, have brought this lawsuit challenging the Executive
24   Order under a variety of constitutional and statutory theories. They now move for a preliminary
25   injunction to prevent the Order from taking effect, but their claims fail on myriad grounds, and
26   their motion should be denied.
27           First, Plaintiffs cannot show a likelihood of success on the merits because key aspects of
28   this case are not justiciable. Plaintiffs’ theories are largely predicated upon speculation regarding

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 1   the scope and likely impact of the Executive Order, but any such claims are not ripe because the
 2   Executive Order charged the Secretary of Commerce (“Secretary”) with delineating the
 3   prohibited transactions by September 20, 2020, and the Secretary has not yet finalized that task.
 4   Plaintiffs therefore train their attack on the President’s antecedent decision to invoke his
 5   emergency powers under IEEPA and the NEA with respect to WeChat, but—as courts have
 6   uniformly held—such claims present nonjusticiable political questions; for a court to entertain
 7   the kind of challenge Plaintiffs are making here would intrude on the core constitutional
 8   authority of the President to make determinations related to foreign policy and the national
 9   security of the United States. And, to the extent Plaintiffs challenge compliance with the
10   parameters set forth under IEEPA and the NEA, those claims fail for the additional reason that
11   Congress expressly declined to confer a private right of action to bring such claims.
12           When those nonjusticiable claims are peeled away, what is left is Plaintiffs’ facial
13   constitutional challenge to the Executive Order itself. But Plaintiffs have not met, and cannot
14   meet, the exceedingly high standard applicable to such disfavored facial challenges. Their
15   theory that the Executive Order is unduly vague under the Fifth Amendment fails for the same
16   reasons their claims are not ripe: the task of delineating prohibited transactions under the Order
17   is explicitly entrusted to the Secretary, who has not yet made such determinations. Nor do
18   Plaintiffs’ First Amendment claims hold water. Even assuming Plaintiffs’ speculation as to the
19   potential impacts of the Executive Order were correct, the Executive Order would easily clear
20   the requirements for a content-neutral regulation that incidentally affects the time, place, or
21   manner of certain speech. The Executive Order plainly serves critical Government interests—
22   the privacy and security of U.S. persons and thus the national security of the United States—
23   while targeting certain transactions related to a single social media application, thereby leaving
24   numerous alternative avenues of communication available. And Plaintiffs similarly fail to show
25   that the Executive Order is ultra vires in light of the highly discretionary and broad authority
26   entrusted to the President to address national emergencies.
27           Plaintiffs are equally unsuccessful in attempting to meet the final requirements of a
28   preliminary injunction: demonstrating irreparable harm and a favorable balance of the equities.

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 1   Plaintiffs’ allegations of injury fail to establish any non-speculative irreparable harm, as their
 2   claims of worry and possible economic injury do not suffice. The balance of equities also favors
 3   the Government, given the well-recognized authority of the President to make sensitive national
 4   security and foreign policy decisions. Indeed, to hold otherwise would allow a group of social
 5   media users to substitute their subjective judgment for that of the Executive Branch and enjoin
 6   Presidential action on a nationwide basis, merely because they are unable to use an app that they
 7   prefer, over the vast range of alternatives open to them. The Court should accordingly deny
 8   Plaintiffs’ motion for a preliminary injunction.
 9
                                                   BACKGROUND
10
     I.      Factual Background
11
             A.       Congress and the Executive Branch Identify Chinese Technology Companies
12                    as a Significant and Growing National Security Threat.
13                    1.       Early Concerns Regarding Huawei and ZTE
14           For over a decade, Congress and the Executive Branch have expressed concerns about the
15   growing national security threat stemming from China’s activities in the information and
16   communications technology and services sectors. For instance, in 2010, a bipartisan group of
17   lawmakers wrote to the Chairman of the Federal Communications Commission, requesting
18   information about the security of U.S. telecommunications networks in light of a proposed deal
19   between Sprint, Cricket, Huawei and ZTE. See Cong. Leaders Cite Telecommunications
20   Concerns With Firms That Have Ties With Chinese Government (Oct. 19, 2010), Ex. 1. The
21   letter observed that Huawei and ZTE, two Chinese telecommunications firms with significant
22   ties to the Chinese government, were “aggressively seeking to supply sensitive equipment for
23   U.S. telecommunications infrastructure” and to service U.S. networks. Id. at 1.
24           The following year, the House Permanent Select Committee on Intelligence (“HPSCI”)
25   launched a related investigation that, although focused on Huawei and ZTE, was premised on the
26   broader concern that Chinese telecommunications companies with suspected ties to the Chinese
27   government could provide opportunities for espionage for a nation-state already well-known for
28   perpetrating cyber-attacks and espionage against the United States. See HPSCI, Investigative

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 1   Rep. on the U.S. Nat’l Sec. Issues Posed by Chinese Telecomms. Cos. Huawei and ZTE (Oct. 8,
 2   2012) (“HPSCI Rep.”), at 2-4, Ex. 2. Such a platform, the Committee explained, could allow
 3   China “to exert pressure or control over critical infrastructure on which the country is
 4   dependent,” or give China access to sensitive governmental and proprietary information,
 5   resulting in an “unfair diplomatic or commercial advantage over the United States.” Id. at 3.
 6   Moreover, the mere dominance of China-backed firms in the information supply chain presented
 7   “a national concern for the United States” in that it could lead to a “lack of market diversity” and
 8   dependence on products and platforms supplied by companies beholden to the PRC, a
 9   government “already known to be a major perpetrator of cyber espionage.” Id. at iv, 2.
10           At the same time, Congress was receiving similar information from the U.S.-China
11   Economic and Security Review Commission (“U.S.-China Commission”) and the Department of
12   Defense (“DoD”). The U.S.-China Commission reported that “[n]ational security concerns have
13   accompanied the dramatic growth of China’s telecom sector” and that “large Chinese
14   companies”—particularly those prominent in China’s “strategy of overseas expansion—are
15   directly subject to direction by the [CCP], to include support for PRC state policies and goals.”
16   Staff of U.S.-China Comm’n, 112th Cong., The Nat’l Sec. Implications of Invs. and Products
17   from the People’s Republic of China in the Telecomms. Sector, at 9 (2011) (“2011 USCC
18   Telecomms. Rep.”), Ex. 3. The reports explained that, “[al]though claiming to be private, [such
19   companies] are subject to state influence” and “enjoy favorable government policies that support
20   their development.” U.S.-China Comm’n, 112th Cong., 2011 Rep. to Congress, at 47, Ex. 4.
21   DoD likewise conveyed its assessment that Chinese technology companies “maintain close ties
22   to the [People’s Liberation Army].” Office of the Sec’y of Def., Annual Rep. to Congress:
23   Military and Sec. Devs. Involving the PRC, at 42 (2011) (“2011 DoD Annual Rep.”), Ex. 5.
24                    2.       Increasing Reliance on Mobile Technologies Amplifies the National
25                             Security Threat.

26           Over the following years, intelligence officials across two different administrations

27   continuously and repeatedly concluded that China poses one of the “greatest cyber threats to the

28   United States.” See Daniel R. Coats, Dir. of Nat’l Intelligence (“DNI”), Stmt. for the Record:

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 1   Worldwide Threat Assessment of the US Intelligence Cmty., at 5 (2018) (“2018 DNI Threat
 2   Assessment”), Ex. 6. These reports emphasized the heightened threat flowing from China’s
 3   strategic insertion and penetration of its companies and products into informational networks and
 4   markets beyond China. See Daniel R. Coats, DNI, Stmt. for the Record: Worldwide Threat
 5   Assessment of the US Intelligence Cmty., at 1 (2017) (“2017 DNI Threat Assessment”), Ex. 7.
 6   In a February 2015 report, the Federal Bureau of Investigations (“FBI”) reported that “China
 7   makes no secret that its cyber warfare strategy is predicated on controlling global
 8   communications network infrastructure.” FBI, Counterintelligence Strategic P’ship Intelligence
 9   Note, SPIN: 15-002, at 1 (Feb. 1, 2015) (“2015 FBI Note”), Ex. 8. The U.S.-China Commission
10   similarly stated in its 2017 Annual Report to Congress that China’s strategic approach involves
11   domestic companies “achiev[ing] dominant positions in China, and then . . . expanding to
12   overseas markets.” U.S.-China Comm’n, 115th Cong., 2017 Rep. to Congress, at 165 (Nov.
13   2017), Ex. 9. And the strategy was working: “the Chinese Government’s potential access to US
14   business communications is dramatically increasing,” with China’s intelligence services
15   “operating as an advanced persistent threat to U.S. networks.” 2015 FBI Note, at 1.
16           Intelligence officials also stressed that U.S. vulnerabilities on this dimension were rapidly
17   growing due to the expanded use of, and significant advances in, information and
18   communications technology. See James R. Clapper, DNI, Stmt. for the Record: Worldwide
19   Threat Assessment of the US Intelligence Ctmy., at 1-4 (Feb. 9, 2016) (“2016 DNI Threat
20   Assessment”), Ex. 10; 2017 DNI Threat Assessment, at 1-4; 2018 DNI Threat Assessment, at 5-
21   6. For example, the 5th Generation of wireless technology, or “5G,” promises to increase the
22   speed and responsiveness of mobile communications, while the number of Internet-connected
23   devices beyond conventional computers and smartphones is expected to grow exponentially,
24   leading to a veritable “Internet of Things” (“IoT”). See 2017 DNI Threat Assessment at 1-4.
25   Among other things, the IoT is expected to integrate cyber technologies into “critical
26   infrastructure in key sectors,” meaning that “[c]yber threats pose also an increasing risk to public
27   health, safety, and prosperity.” Id. at 1; see also 2016 DNI Threat Assessment, at 1 (explaining
28   that the incorporation of “[s]mart devices . . . into the electric grid, vehicles—including

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 1   autonomous vehicles—and household appliances . . . can threaten data privacy, data integrity, or
 2   continuity of services”). At the same time, the inter-connected IoT will include “billions of
 3   potentially unsecured” points in our Internet infrastructure, “creat[ing] an incalculably larger
 4   exploitation space” for our adversaries. Nat’l Counterintelligence & Sec. Ctr., Foreign Econ.
 5   Espionage in Cyberspace (2018) (“NCSC 2018 Report”) at 4, Ex. 11. In light of these persistent
 6   threats and increasing vulnerabilities, the FBI Director stated during a hearing before the Senate
 7   Select Committee on Intelligence (“SSCI”) that the FBI is “deeply concerned about the risks of
 8   allowing any company or entity that is beholden to foreign governments that don’t share our
 9   values to gain positions of power inside our telecommunications networks.” Open Hearing on
10   Worldwide Threats Before the SSCI, 115th Cong., at 64-65, Ex. 12.
11           In 2018, DoD described these and similar threats as “the principal priorities for the
12   Department . . . because of the magnitude of the threats they pose to U.S. security and
13   prosperity[.]” DoD Summary of 2018 National Defense Strategy, at 4, Ex. 13. DoD explained
14   that “China and Russia are now undermining the international order from within the system by
15   exploiting its benefits while simultaneously undercutting its principles and ‘rules of the road.’”
16   Id. at 2. DoD again observed that the security environment was being “affected by rapid
17   technological advancements” including “‘big data’ analytics [and] artificial intelligence” and that
18   “[i]t is now undeniable that . . . America is a target, whether from terrorists seeking to attack our
19   citizens; malicious cyber activity against personal, commercial, or government infrastructure; or
20   political and information subversion” leveraging the “increasing digital connectivity of all
21   aspects of life, business, government, and military[.]” Id. at 3.
22                    3.       The National Defense Authorization Act of 2018
23           Congress responded in part to these growing concerns in its defense appropriations bill
24   for fiscal year 2019, which prohibited government agencies and contractors from buying, or
25   contracting with entities that use telecommunications or video surveillance equipment or services
26   produced by ZTE, Huawei, other identified Chinese entities, or any “entity that the Secretary of
27   Defense . . . reasonably believes to be an entity owned or controlled by, or otherwise connected
28

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 1   to, the government of [the PRC].” See S. McCain National Defense Authorization Act, Pub. L.
 2   No. 115-232 § 889, 132 Stat. 1636, 1918 (2018) (the “NDAA”). 1
 3           More broadly, the NDAA declared that “long-term strategic competition with China is a
 4   principal priority for the United States that requires the integration of multiple elements of
 5   national power . . . to protect and strengthen the national security,” and directed the President to
 6   assess and formulate strategies to address the threat posed by China, including the CCP’s “use of
 7   political influence, information operations, censorship and propaganda to undermine democratic
 8   institutions,” and the “use of economic tools, including market access and investment to gain
 9   access to sensitive United States industries.” Id. § 1261. The NDAA required defense and
10   intelligence officials to continue to study and develop procedures for limiting foreign access to
11   technology generally, see id. § 885, and to expand the Executive Branch’s annual report on
12   military and security developments involving the PRC to specifically address, inter alia,
13   “[e]fforts by the [PRC] to influence the media, cultural institutions, business, and academic and
14   policy communities of the United States” and the PRC’s use of other “nonmilitary tools” to
15   advance its security and military strategy objectives. Id. § 1260(5).
16
             B.       Researchers and Government Officials Identify Tencent and WeChat as
17                    a Growing Threat.

18           Even as Congress was taking these actions, evidence was emerging that the national

19   security threat from Chinese information technology companies was evolving beyond Huawei

20   and ZTE. In 2019, the Australian Strategic Policy Initiative (“ASPI”), an independent, non-

21   partisan think tank, published a detailed report on the geostrategic considerations raised by the

22   rapid expansion of Chinese information technology and communications firms. See ASPI,

23   Mapping China’s Technology Giants, Issue Paper, Report No. 15 (April 2019) (“Mapping

24   Giants”), Ex. 14. The report reiterated that “CCP has made no secret about its intentions to

25   export its vision for the global internet” by “enhancing the ‘global influence of internet

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     1
       See also Huawei Techs. USA, Inc. v. United States, 440 F. Supp. 3d 607 (E.D. Tex. 2020)
27
     (rejecting legal challenge to section 889). Congress also enacted a parallel provision to section
28   889 in its defense appropriations bill for fiscal year 2018. See Pub. L. No. 115-91, § 1656, 131
     Stat. 1283, 1761-62 (2017).
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 1   companies like Alibaba, Tencent, [and] Baidu’” (as well as Huawei) with an eye towards “‘the
 2   party’s ideas . . . becom[ing] the strongest voice in cyberspace.’” Id. at 3. The report noted that
 3   these companies “are subject to China’s increasingly stringent security, intelligence, counter-
 4   espionage, and cybersecurity laws,” as well as “requirements . . . to host internal [CCP]
 5   committees” and “cooperate in and conceal involvement in intelligence work,” id. at 4, and as a
 6   consequence, “[t]he CCP’s influence and reach into private companies has increased sharply
 7   over the past decade.” Id. at 7. The report identified Tencent as one of a handful of Chinese
 8   companies “reported to have the highest proportion of internal CCP party committees within the
 9   business sector.” Id. at 3.2
10           The report also explained that this increased cooperation between the CCP and private
11   enterprise in China was the “crown jewel” of a highly strategic foreign policy that aims to build
12   “a vast global network of infrastructure” and establish controls over that infrastructure so that
13   “‘the [CCP’s] ideas always become the strongest voice in cyberspace.’” Id. at 8. Indeed,
14   Chinese firms have consciously “developed and deployed sophisticated technologies that now
15   underpin the CCP’s ability to control and suppress segments of China’s population,” id. at 8, and
16   are “spreading well beyond China’s borders.” Id. at 9. The report identified Tencent as one of
17   these Chinese “tech giants,” explaining that “WeChat poses significant risks as a channel for the
18   dissemination of propaganda and as a tool of influence among the Chinese diaspora” outside of
19   China. This risk was exacerbated by the increasing “use[] [of WeChat] by politicians in liberal
20   democracies to communicate with their ethnic Chinese voters” and WeChat’s potential “to
21   substantially grow its user base overseas.” Id. at 15. The report also highlighted the app’s
22   “potential to facilitate surveillance,” noting that Amnesty International gave the company “a
23   score of 0 out of 100 on how well it . . . protect[s] online privacy,” and that “[c]ontent that passes
24   through WeChat’s servers in China is accessible to Chinese authorities by law.” Id.
25
26
     2
       See also ASPI, Technological entanglement, cooperation, competition and the dual-use
27   dilemma in artificial intelligence, at 7 (June 28, 2018) (“Technological Entanglement”), Ex. 16
     (“Just about every major tech company, including Baidu, Alibaba, Tencent, Sohu, Sina and
28   NetEase, has a party secretary, who is often a fairly senior figure within the company, and new
     requirements may even require all listed companies to ‘beef up party building.’”).
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 1           These findings built upon a prior ASPI report, which similarly noted that “[p]rivate
 2   companies [in China] are not only sharing users’ personal data with the authorities in compliance
 3   with China’s regulatory environment[,] . . . but many of those companies—including the industry
 4   leaders—are building their business model predominantly around the needs of the state.” ASPI,
 5   When the winner takes it all, Big data in China and the battle for privacy, at 3 (Jun. 22, 2018),
 6   Ex. 15. This earlier report similarly identified the WeChat “all-in-one superapp” as an example
 7   of this phenomenon, explaining that it was the result of Tencent’s “open[] and ambitious[]”
 8   strategy “to become the fundamental platform for the Chinese internet: a platform ‘as vital as the
 9   water and electricity resources in daily life.’” Id. at 4. The report cautioned that China’s strategy
10   of “informatisation”—described as “the process by which the political, social and economic
11   interactions in a society have become networked and digitised—cannot be overstated when
12   analysing China’s big data vision, especially in the public security sector.” Id. at 6.
13           Echoing these concerns, a March 2019 bulletin published in Japan Times explained that
14   “[i]t has long been understood that Tencent . . . facilitates Chinese government censorship and
15   surveillance,” and over the prior year “the scale and significance of this activity have increased .
16   . . both inside and outside China.” See Sarah Cook, Worried about Huawei? Take a Closer Look
17   at Tencent, Japan Times, March 29, 2019, Ex. 17. In particular, the “combination of growing
18   government demands and WeChat’s near market saturation in China has increased the scope and
19   impact of its complicity,” including through multiple forms of surveillance and “censorship
20   [that] significantly distort the information received by Chinese users on vital topics” and also
21   “may affect Tencent users outside China.” Id. The author recommended that “[g]overnments
22   and corporations . . . restrict usage of WeChat among their employees” and “[p]oliticians
23   communicating with their Chinese-speaking constitutents should make sure to do so across a
24   diversity of platforms, not just those that are subject to Chinese government control.” Id.
25           In November 2019, the U.S.-China Commission released a nearly 600-page report that,
26   among other things, drew similar conclusions about Tencent and WeChat. See generally US-
27   China Comm’n, 2019 Report to Congress (Nov. 2019) (the “USCSR 2019 Report”), Ex. 18. The
28   USCSR 2019 Report described WeChat’s mobile platform as providing “unparalleled access to

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 1   consumer data,” positioning the company for its selection by the Chinese government as one of
 2   three companies forming a “‘National Team’ charged with developing [artificial intelligence
 3   (AI)] in a range of subdomains.” Id. at 216-17; see also id. at 234, Addendum I (identifying
 4   Tencent as one of China’s “key companies” for machine learning). 3 The Report also observed
 5   that the WeChat app is a key tool for China’s disinformation campaigns, citing as one example
 6   Australia’s May 2019 election, in which “fake news on WeChat was such a problem that
 7   Australia’s Labor Party contacted WeChat owner Tencent to express frustration about posts
 8   spreading disinformation.” Id. at 406-07. The Report cautioned that “use of [WeChat] had
 9   spread beyond the Chinese Australian community, with about 3 million Australians using
10   WeChat by 2017,” id., and that “almost the entire Mandarin-speaking community in Australia
11   . . . used WeChat,” allowing “Beijing [to] ‘promote particular issues [as] a way of controlling
12   public debate.’” Id. at 407.4
13           C.       The President Issues Executive Order 13873 and Reports to Congress under
14                    the NDAA.
             On May 15, 2019, the President issued an Executive Order finding “that foreign
15
     adversaries are increasingly creating and exploiting vulnerabilities in information and
16
     communications technology and services, which store and communicate vast amounts of
17
     sensitive information, facilitate the digital economy, and support critical infrastructure and vital
18
     emergency services, in order to commit malicious cyber-enabled actions, including economic
19
     and industrial espionage against the United States and its people.” Executive Order 13873,
20
     Securing the Information and Communications Technology and Services Supply Chain, 84 Fed.
21
     Reg. 22689, 22689 (the “ICTS Executive Order”). The President explained “that the unrestricted
22
     3
23     According to ASPI, “China seeks to take full advantage of the dual-use nature of AI technologies
     through a national strategy of ‘military–civil fusion’” through which China “intends to ensure that
24   advances in AI can be readily turned to dual-use applications to enhance national defence
     innovation.” Technological entanglement, at 8, Ex. 16; see also ASPI, An Orwellian future is
25   taking shape in China (Jan. 8, 2018), Ex. 19 (noting that “Beijing has made no secret of its goal to
     become the world leader in AI by 2030” and that “[a]lready, the beginnings of a truly Orwellian
26   future in China are taking shape” based upon Tencent’s work “with authorities to develop an
     ‘early-warning system’ for predicting the size of crowds and their movement”). See id. at 2-3.
27   4
      These concerns regarding WeChat have also been extensively reported in the mainstream press.
28   See Ex. 20 (compiling articles of The New York Times, the Wall Street Journal, Lawfare, and
     National Public Radio, among others).
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 1   acquisition or use in the United States of information and communications technology or
 2   services . . . supplied by persons owned by, controlled by, or subject to the jurisdiction or
 3   direction of foreign adversaries augments the ability of foreign adversaries to create and exploit
 4   vulnerabilities in information and communications technology or services, with potentially
 5   catastrophic effects, and thereby constitutes an unusual and extraordinary threat to the national
 6   security, foreign policy, and economy of the United States.” Id.
 7           In light of these findings, the President invoked his authority under the Constitution and
 8   the laws of the United States, including IEEPA and the NEA, to declare a national emergency
 9   with respect to this threat, and to prohibit transactions with foreign countries or foreign nationals
10   that pose “an undue risk of sabotage to or subversion” of, inter alia, the “maintenance of
11   information and communications technology or services in the United States” or “otherwise
12   pose[] an unacceptable risk” to the national security. Id. at 22,690. The President directed the
13   Secretary of Commerce, in consultation with other officials, to identify the transactions that pose
14   an undue or unacceptable risk to the national security of the United States, and further instructed
15   the DNI, the Secretary of Homeland Security, and the Secretary of Commerce to continue to
16   assess and report back to him on the threats from foreign adversaries with respect to entities,
17   hardware, software and services, and the actions taken pursuant to the Executive Order. See id.
18   at 22,690-92.
19           Consistent with these directives, on April 9, 2020, the Department of Homeland Security
20   (“DHS”) issued an interim report pursuant to the ICTS Executive Order, mapping out the
21   architecture of the ICT framework to assist identification of vulnerabilities. See DHS,
22   Cybersecurity and Infrastructure Agency (“CISA”), Exec. Order 13873 Response (Apr. 2020),
23   Ex. 21. ODNI also prepared a classified initial threat assessment. See 84 Fed Reg. 65316 (Nov.
24   19, 2019).
25           On May 13, 2020, the President renewed the declaration of emergency set forth in the
26   ICTS Executive Order. See 85 Fed. Reg. 29,321. Shortly thereafter, on May 20, 2020, he
27   presented a report to Congress, in accordance with the NDAA, outlining a set of broad strategies
28   in relation to the country’s foreign policy with China. See U.S. Strategic Approach to PRC (May

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 1   20, 2020), Ex. 22. While addressing a wide range of threats emanating from China’s open
 2   acknowledgment “that it seeks to transform the international order to align with CCP interests
 3   and ideology,” the report echoed prior concerns about “the PRC National Cyber Security Law,
 4   which requires companies to comply with Chinese data localization measures that enable CCP
 5   access to foreign data” and other laws that compel Chinese companies “to cooperate with
 6   Chinese security services, even when they do business abroad, creating security vulnerabilities
 7   for foreign countries and enterprises[.]” Id. at 7. The report explained that the ICTS Executive
 8   Order sought to address this threat by “prevent[ing] certain companies associated with or
 9   answering to the intelligence and security apparatus of foreign adversaries from, for example,
10   readily accessing the private and sensitive information of the United States Government, the
11   United States private sector, and individual Americans.” Id. at 10-11.
12           D.       The President Takes Action Relating to WeChat.
13           On August 6, 2020, President Trump issued the WeChat Order. See 85 Fed. Reg. 48641
14   (Aug. 6, 2020). In it, he stated that “additional steps must be taken to deal with the national
15   emergency . . . declared in [the ICTS Executive Order]” because “the spread in the United States
16   of mobile applications developed and owned by companies in the [PRC] continues to threaten
17   the national security, foreign policy, and economy of the United States.” Id. at 48,641. He
18   further explained that Tencent’s WeChat app in particular required action: its practice of
19   “automatically captur[ing] vast swaths of information from its [over one billion] users” through
20   its messaging, social media and electronic payment applications “threatens to allow the [CCP]
21   access to Americans’ personal and proprietary information.” Id. The Order cited one research
22   study by the nonprofit Citizen’s Lab that had uncovered “a Chinese database containing billions
23   of WeChat messages sent from users in not only China but also the United States, Taiwan, South
24   Korea, and Australia.” Id.5 It also explained that WeChat “reportedly censors content that the
25   [CCP] deems politically sensitive” and may “be used for disinformation campaigns that benefit
26
     5
      See Jeffrey Knocket, et al., Citizen’s Lab, We Chat, They Watch, How International Users
27   Unwittingly Build up WeChat’s Chinese Censorship Apparatus, at 5 (May 7, 2020) (“WeChat,
     They Watch”), Ex. 23 (finding, inter alia, that “[d]ocuments and images transmitted entirely
28
     among non-China-registered accounts undergo content surveillance”).
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 1   the [CCP],” factors that had already led other countries, including Australia and India, to take
 2   action to limit the use of WeChat in those countries. Id. The President concluded that the United
 3   States, too, “must take aggressive action against [Tencent] to protect our national security.” He
 4   thus ordered that, beginning “45 days after the date of this order,” i.e., by September 20, 2020,
 5   “any transaction that is related to WeChat by any [United States] person, or with respect to any
 6   [United States] property . . . with Tencent” shall be prohibited “as identified by the [Secretary]
 7   under section 1(c) of this order.” Id. § 1(a). The Order provided that, by September 20, 2020,
 8   “the Secretary shall identify the transactions subject to subsection (a) of this section.” Id. § 1(c).
 9   II.      This Case
10            On August 21, 2020, Plaintiffs filed this lawsuit against President Trump and Secretary
11   Ross. In their complaint, Plaintiffs acknowledge that WeChat is a tool through which the
12   Chinese government engages in “all-pervasive,” “dragnet surveillance” of the American
13   population, Compl. ¶ 4, and that the Chinese government has been able to induce what Plaintiffs
14   refer to as “complete[] relian[ce]” on the app, including among state and local entities in the
15   United States. See id. ¶¶ 10, 41.6 However, they contend that the President lacks the power to
16   address this threat because other apps are not as convenient as WeChat, lack its “network
17   effects,” and cannot be used to communicate within persons in China as effectively. See id. ¶ 12.
18   They claim that the President’s decision to designate WeChat as a national security threat and
19   invoke his authority under IEEPA with respect to that threat therefore constitutes a “stark
20   violation of the First Amendment,” id. ¶ 8, violates the Equal Protection clause, is void for
21   vagueness and lack of notice under the Fifth Amendment, is ultra vires, and violates the
22   Religious Freedom Restoration Act (“RFRA”), 42 U.S.C. § 2000bb(1)(a). Id. ¶¶ 63-108.7
23
24
25
26   6
       Indeed, Plaintiffs’ assertion that WeChat is akin to the “air” they breathe, Mot. at 4, uncannily
     echoes Tencent’s PRC-assisted vow “to become . . . a platform ‘as vital as the water and
27
     electricity resources in daily life.’” Ex. 15, at 4.
28   7
         Plaintiffs’ motion rests on only some of these claims, and Defendants respond accordingly.

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 1                                              IEEPA and the NEA
 2   I.      The International Emergency Economic Powers Act
 3           For nearly its entire history, the United States has used economic sanctions as a critical
 4   means to protect national security and achieve foreign policy goals. During most of the
 5   twentieth century, U.S. sanctions programs were governed by the Trading With the Enemy Act
 6   (“TWEA”), which granted the President “broad authority” to “investigate, regulate . . . prevent or
 7   prohibit . . . transactions” in times of war or declared national emergencies. See 50 U.S.C.
 8   § 4305(b)(1); see also Dames & Moore v. Regan, 453 U.S. 654, 672 (1981).
 9           In 1977, Congress enacted IEEPA. See S. Rep. No. 95-466, at 1-2 (1977), reprinted in
10   1977 U.S.C.C.A.N. 4540, 4541. IEEPA limited TWEA’s application to periods of declared
11   wars, but also extended the President’s authority to periods of declared national emergencies.
12   See Regan v. Wald, 468 U.S. 222, 227-28 (1984). Although the broad powers granted to the
13   President under IEEPA are essentially the same as those under TWEA, IEEPA provides
14   authority to exercise those powers during peacetime, “to deal with any unusual and extraordinary
15   threat, which has its source in whole or substantial part outside the United States, to the national
16   security, foreign policy, or economy of the United States,” see 50 U.S.C. § 1701(a). Once a
17   national emergency relating to such a threat is declared, IEEPA empowers the President to:
18
             [R]egulate, direct and compel, nullify, void, prevent or prohibit, any . . . transfer . . . of, or
19           dealing in, or exercising any right, power, or privilege with respect to, or transactions
             involving, any property in which any foreign country or a national thereof has any
20           interest . . . with respect to any property, subject to the jurisdiction of the United States[.]
21   Id. § 1702(a)(1)(B).
22   II.     The National Emergencies Act
23           The NEA, Pub. L. No. 94-412, 90 Stat. 1255 (1976) (codified as amended at 50 U.S.C.
24   §§ 1601-1651), was an effort by Congress to “establish procedural guidelines for the handling of
25   future emergencies with provision for regular Congressional review.” S. Rep. No. 94-922, at 1
26   (1976).8 The statute prescribes rules for Presidential declarations of national emergencies with
27
     8
      The NEA was the culmination of a multi-year effort by Congress to examine emergency statutes
28   and procedures. See S. Comm. on Gov’t Operations & the Special Comm. on Nat’l Emergencies

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 1   respect to statutes “authorizing the exercise, during the period of a national emergency, of any
 2   special or extraordinary power.” 50 U.S.C. § 1621(a). Congress did not define the term “national
 3   emergency” or place any conditions on the President’s ability to declare a national emergency.
 4   Instead, Congress committed this determination to the President as “it would be wrong to try to
 5   circumscribe with words with what conditions a President might be confronted.”                    Nat’l
 6   Emergencies Act: Hr’gs Before the Subcomm. on Admin. Law and Governmental Relations, 94th
 7   Cong. 27 (March 6, 1975) (statement of Sen. Mathias); see also id. at 31 (“[W]e didn’t attempt to
 8   define it specifically because we were afraid we would circumscribe the President’s constitutional
 9   powers.”); id. at 27 (statement of Sen. Church) (similar).
10           Congress gave itself the exclusive oversight authority over a President’s national
11   emergency declaration. For instance, declarations of national emergencies must “immediately be
12   transmitted to the Congress and published in the Federal Register.” 50 U.S.C. § 1621(a). The
13   President must comply with extensive congressional reporting requirements pertaining to that
14   declaration. Id. § 1641(a)-(c). Congress may terminate a national emergency through a joint
15   resolution that is subject to fast track procedures, and Congress must meet “[n]ot later than six
16   months after a national emergency is declared, and [every six months thereafter],” to consider
17   whether the emergency shall be terminated. Id. § 1622(a)-(c).
18
                                                    DISCUSSION
19
     I.      Legal Standard
20
             A preliminary injunction “is an extraordinary and drastic remedy, one that should not be
21
     granted unless the movant, by a clear showing, carries the burden of persuasion.” Mazurek v.
22
     Armstrong, 520 U.S. 968, 972 (1997) (per curiam) (citation omitted). A plaintiff “must establish
23
     that he is likely to succeed on the merits, that he is likely to suffer irreparable harm in the
24
     absence of preliminary relief, that the balance of equities tips in his favor, and that an injunction
25
     is in the public interest.” Am. Trucking Ass’ns v. City of Los Angeles, 559 F.3d 1046, 1052 (9th
26
     Cir. 2009) (citation omitted). A “possibility” of irreparable harm is insufficient; irreparable harm
27
28   and Delegated Emergency Powers, 94th Cong., 2d Sess., The NEA Source Book: Legislative
     History, Texts, and Other Documents, at 3-9 (1976) (hereinafter “NEA Source Book”).
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 1   must be likely absent an injunction. Id.; see also Winter v. NRDC, 555 U.S. 7, 22 (2008).
 2   Alternatively, “‘serious questions going to the merits’ and a balance of hardships that tips
 3   sharply towards the plaintiff can support issuance of a preliminary injunction, so long as the
 4   plaintiff also shows that there is a likelihood of irreparable injury and that the injunction is in the
 5   public interest.” All. for the Wild Rockies v. Cottrell, 632 F.3d 1127, 1135 (9th Cir. 2011).
 6   Plaintiffs bear the burden of demonstrating that each of these four factors is met. DISH Network
 7   Corp. v. FCC, 653 F.3d 771, 776-77 (9th Cir. 2011). They fail to meet that burden.
 8   II.     Plaintiffs Are Unlikely To Succeed on the Merits of Their Claims.
 9           A.       Core Aspects of this Dispute Are Not Justiciable.
10           As a threshold matter, Plaintiffs are unlikely to succeed on the merits because their
11   claims are not justiciable. Several claims require the Court to speculate about the likely scope
12   and implementation of the Order, and those claims are not ripe. Others ask the Court to review
13   the propriety of the President’s national emergency determinations, presenting quintessential
14   “political questions.” And to the extent Plaintiffs challenge the President’s compliance with
15   IEEPA and the NEA, they lack a private right of action to do so.
16                    1.       Plaintiffs’ Claims Regarding the Scope of Action to Be Taken Under
                               the Executive Order Are Not Ripe.
17
             Ripeness is a justiciability requirement through which courts seek to avoid premature
18
     litigation of disputes. See Thomas v. Union Carbide Agr. Prod. Co., 473 U.S. 568, 579-81
19
     (1985). The doctrine has both constitutional and prudential components, the former “drawn . . .
20
     from Article III limitations on judicial power” and the latter “from prudential reasons for
21
     refusing to exercise jurisdiction.” Reno v. Catholic Soc. Servs., Inc., 509 U.S. 43, 57 n.18
22
     (1993). The components are independent, so that a court may conclude that a claim is ripe “‘in
23
     the constitutional sense’” but is nevertheless prudentially unripe and unfit for review. Elkins v.
24
     Am. Honda Motor Co., No. 19-818-JLS-KES, 2020 WL 4882412, at *5 (C.D. Cal. July 20,
25
     2020) (citation omitted); see also Shady Acres HOA v. Kittitas Cty., 815 F. App’x 181, 182 (9th
26
     Cir. 2020) (“‘prematurity and abstractness” present “insuperable obstacles” to judicial review
27
28

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 1   even where “jurisdiction is technically present’” (citation omitted)).9 The prudential ripeness
 2   inquiry requires a court to evaluate two factors: first, “the fitness of the issues for judicial
 3   decision,” and second “the hardship to the parties of withholding court consideration.” Shady
 4   Acres, 815 F. App’x at 182 (citation omitted). Plaintiffs’ claims do not satisfy either factor.
 5           First, Plaintiffs’ claims, though nominally facial, are premised on speculation regarding
 6   the scope and impact of the Executive Order. See Mot. at 17-33 (overbreadth, vagueness, and
 7   ultra vires theories). Those claims are not fit for review because the Secretary has not yet issued
 8   any “final . . . word” on which transactions will be prohibited. Cal. Dep’t of Educ. v. Bennett,
 9   833 F.2d 827, 833 (9th Cir. 1987). Judicial review at this juncture would therefore “interfere
10   with the [Government’s] decision making process.” Id. And because the Secretary has not yet
11   acted, adjudicating Plaintiffs’ claims would require speculation about how the Order will be
12   implemented and thus entangle the court “‘in abstract disagreements over administrative
13   policies’” before a “‘decision has been formalized and its effects felt in a concrete way by the
14   challenging parties.’” Id. (citation omitted).
15           Plaintiffs also have not demonstrated any hardship from awaiting a decision by the
16   Secretary before adjudicating their claims. The Secretary’s decision is expected within three
17   days of the Court’s hearing on Plaintiffs’ motion, and although Plaintiffs claim in the meantime
18   to be searching for alternatives, those alleged efforts have already been expended, see infra at 37,
19   and are unlikely to be materially increased by waiting a few days for the Secretary to issue his
20   decision.
21           Finally, although Plaintiffs invoke the relaxed ripeness standard for preenforcement
22   challenges under the First Amendment, even “a party bringing [such a] challenge must . . .
23   present a ‘concrete factual situation . . . to delineate the boundaries of what conduct the
24   government may or may not regulate without running afoul’ of the Constitution.” Alaska Right
25   9
      The Supreme Court has suggested that the prudential ripeness doctrine may be in tension with
26   “a federal court’s obligation to hear and decide” cases within its jurisdiction. Clark v. City of
     Seattle, 899 F.3d 802, 809 n.4 (9th Cir. 2018) (citation omitted). However, the Court has not
27   overruled the doctrine, see id., and courts in this Circuit have continued to apply it. See, e.g.,
     Kohn v. State Bar of Cal., No. 20-CV-04827-PJH, 2020 WL 4701092, at *4 (N.D. Cal. Aug. 13,
28
     2020) (dismissing for lack of prudential ripeness); Elkins, 2020 WL 4882412, at *5 (same).
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 1   to Life PAC v. Feldman, 504 F.3d 840, 849-50 (9th Cir. 2007). Therefore, the Court could
 2   proceed to the merits “only upon a showing that [Plaintiffs are] ‘immediately in danger of
 3   sustaining a direct injury as a result of” the Executive Order. Id. at 851-52 (emphasis added,
 4   punctuation omitted). Yet there is no such “immediate” danger because the Secretary has not yet
 5   defined the scope of the Executive Order, and no such criminal or civil enforcement could take
 6   place until he does so. Indeed, Plaintiffs’ claims are not pre-enforcement suits at all; rather, they
 7   seek judicial intervention before the Secretary has even defined the relevant prohibitions that
 8   could give rise to enforcement. Plaintiffs cite no case suggesting that such judicial interference
 9   with an agency’s pending deliberative process is ever warranted, much less that it would be
10   appropriate in a context “implicat[ing] [the] sensitive and weighty interests of national security
11   and foreign affairs.” Holder v. Humanitarian Law Project, 561 U.S. 1, 33-34 (2010); see also
12   U.S. Dep’t of Labor v. Triplett, 494 U.S. 715, 723 (1990) (noting “the presumption of regularity
13   and constitutionality” to which government action is entitled). 10
14           2.       Plaintiffs’ Challenges to the President’s National Security Determinations
                      Are Not Justiciable.
15
             Because the Secretary has not yet taken action to implement the WeChat Order, Plaintiffs
16
     have focused their attack on the Executive Order itself, asserting that “there is no bona fide
17
     national security concern regarding WeChat,” Mot. at 3; and that, if there is, invocation of
18
     IEEPA “is not a proportionate or appropriate response,” id. at 25. See also id. at 12-14, 26-29.
19
     Those claims, however, are not justiciable: “there is no precedent for a court overriding a
20
     President’s discretionary judgment as to what is and is not an emergency”; to the contrary, “the
21
     Ninth Circuit has characterized ‘the declaration or continuance of a national emergency’ as an
22
     ‘essentially political question.’” California v. Trump, 407 F. Supp. 3d 869, 890-91 (N.D. Cal.
23
     2019) (citing Japan Whaling Ass’n v. Am. Cetacean Soc’y, 478 U.S. 221, 230 (1986); United
24
     10
25      Relying on speculation to invalidate the Executive Order would be especially improper in light
     of the Order’s statement that it applies except as “provided by statutes, or in regulations, orders,
26   directives, or licenses that may be issued pursuant to this order.” Exec. Order § 1(b). Cf. Alaska
     Right to Life PAC, 504 F.3d at 849-50 (claims not fit for review where state court had stated that
27   challenged law “should be interpreted in a manner that does not infringe First Amendment
28   rights”).

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 1   States v. Spawr Optical Research, Inc., 685 F.2d 1076, 1080-81 (9th Cir. 1982)). Thus, “whether
 2   [a] national emergency truly exists” in respect to WeChat or requires invocation of the
 3   President’s powers under IEEPA are “nonjusticiable political questions.” Id.11 The Court should
 4   reject Plaintiffs’ unsupported invitation to second guess the President’s national security
 5   determinations.
 6                    3.       Plaintiffs Lack a Cause of Action to Challenge the President’s
                               Compliance with IEEPA and the NEA.
 7
             Similarly, insofar as Plaintiffs’ arguments arise from the President’s alleged lack of
 8
     compliance with the NEA and IEEPA, those statutes contain no private right of action. “Like
 9
     substantive federal law itself, private rights of action to enforce federal law must be created by
10
     Congress.” Alexander v. Sandoval, 532 U.S. 275, 286 (2001). Where the necessary intent is
11
     absent, “a cause of action does not exist and courts may not create one.” Id. at 286-87.
12
             The NEA and IEEPA—which as noted above, confer highly discretionary authority upon
13
     the President to act quickly and decisively to address threats to the United States—have no
14
     provision creating a private right of action for individuals purportedly affected by the President’s
15
     national emergency declaration. Those statutes do not contain the sort of “rights-creating
16
     language” that courts find “critical” to imputing to Congress an intent to create a private right of
17
     action. Id. at 288-89 (distinguishing between the rights-creating language, “[n]o person . . . shall
18
     . . . be subjected to discrimination,” and its antithesis, “[e]ach Federal department and agency . . .
19
     is authorized and directed to effectuate the provisions of [the statute]”); see also Brunner v. Ohio
20
     Republican Party, 555 U.S. 5 (2008) (per curiam). Because the NEA and IEEPA do not
21
     “explicitly confer[] [any] right directly on” individuals affected by an IEEPA Executive Order,
22
     see Cannon v. Univ. of Chicago, 441 U.S. 677, 690 n.13 (1979), but instead contain provisions
23
24   11
       See also, e.g., Ctr. for Biological Diversity v. Trump, No. 1:19-CV-00408 (TNM), 2020 WL
25   1643657, at *10 (D.D.C. Apr. 2, 2020) (“Although presidential declarations of emergencies . . .
     have been at issue in many cases, no court has ever reviewed the merits of such a declaration,” in
26   part because matters of “foreign policy and national security are rarely proper subjects for
     judicial intervention”); Clancy v. OFAC, No. 05-C-580, 2007 WL 1051767, at *6 (E.D. Wis.
27
     Mar. 31, 2007), aff’d, 559 F.3d 595 (7th Cir. 2009) (national security determinations under
28   IEEPA are “‘so exclusively entrusted to the political branches of government as to be largely
     immune from judicial inquiry or interference’” (quoting Regan, 468 U.S. at 242)).
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 1   supports the view” that courts may not order the President to “perform particular executive …
 2   acts”). Accordingly, there is no basis for the Court to conclude that the President is subject to an
 3   implied cause of action in equity when, as here, there is neither historical precedent nor express
 4   congressional language supporting Plaintiffs’ claims. See also Sierra Club v. Trump, 963 F.3d
 5   874, 891 (9th Cir. 2020) (“Whether [a plaintiff] can assert an equitable ultra vires cause of action
 6   turns on ‘whether the relief [it] request[s] . . . was traditionally accorded by courts of equity.’”).
 7           B.       Any Remaining Claims Fail Because Plaintiffs Cannot Show that the
                      WeChat Order Is Unlawful in Every Conceivable Application.
 8
             As to any justiciable claims, Plaintiffs are unlikely to succeed because they cannot meet
 9
     the high bar applicable to facial constitutional challenges. Such challenges are disfavored for
10
     numerous reasons: they “often rest on speculation” and thus “raise the risk of ‘premature
11
     interpretation . . . on the basis of factually barebones records.’” Wash. State Grange v. Wash.
12
     State Republican Party, 552 U.S. 442, 449-51 (2008) (citation omitted). And they “run contrary
13
     to the fundamental principle of judicial restraint that courts should neither ‘anticipate a question
14
     of constitutional law in advance of the necessity of deciding it’ nor ‘formulate a rule of
15
     constitutional law broader than is required by the precise facts to which it is to be applied.’” Id.
16
     at 450 (citation omitted). Accordingly, the Court can invalidate the Executive Order only if
17
     Plaintiffs show that it is “‘unconstitutional in every conceivable application,’ or . . . ‘seek[s] to
18
     prohibit such a broad range of protected conduct that [it is] unconstitutionally overbroad.’” Lone
19
     Star Sec. & Video, Inc. v. City of Los Angeles, 827 F.3d 1192, 1197 (9th Cir. 2016) (citations
20
     omitted). As set forth below, they cannot.
21
                      1.       Plaintiffs Are Not Likely to Succeed on Their Vagueness Claims.
22
             Plaintiffs first contend that the Executive Order is unconstitutionally vague under the
23
     Fifth Amendment because it does not define the prohibited “transaction[s],” Mot. at 17, so that
24
     people “‘of common intelligence must necessarily guess at its meaning.’” Id. at 17, 18 (citing
25
     FCC v. Fox. Television Stations, Inc., 567 U.S. 239, 253 (2012). Plaintiffs need not guess at the
26
     meaning of the Order, however, because under its express terms, “the Secretary shall identify the
27
     [prohibited] transactions.” Exec. Order § 1(c) (emphasis added). Plaintiffs or other WeChat
28

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 1   users thus could not reasonably fear prosecution, or be chilled from using WeChat, until he does
 2   so. Cf. Wolfson v. Brammer, 616 F.3d 1045, 1062-63 (9th Cir. 2010) (plaintiff’s fear must be
 3   “plausible and reasonable” and “imminent,” not merely that a law “might [later] be construed in
 4   a particular manner”); see also id. at 1057 (“Without a possibility of the challenged canons being
 5   enforced, those canons will [not] have a chilling effect on speech.”). 13 Nor are Plaintiffs correct
 6   to suggest that the Court should evaluate the clarity of the Order, standing alone, because “[t]he
 7   EO will become effective on September 20, 2020 regardless of whether the Secretary . . . issues
 8   any clarifying regulations before that date.” Mot. at 19. The Order is not self-executing: it
 9   prohibits only those transactions that are “identified by the [Secretary] under section 1(c) of this
10   order.” Exec. Order § 1(a).14
11           Plaintiffs’ related concerns about selective and discriminatory enforcement fail for the
12   same reason: there can be no enforcement before the Secretary identifies the relevant
13   transactions, and the Court plainly cannot assume that the Secretary’s as-yet-to-be-issued
14   decision will lack the requisite clarity. See Or. State Police Officers Ass’n v. Peterson, 979 F.2d
15   776, 778 (9th Cir. 1992) (courts do not “assume as a matter of course that . . . units of
16   government will violate the law” or that “other contingencies will occur” (citations omitted)).
17   All of Plaintiffs’ cited cases regarding vague criminal statutes, city ordinances, and final agency
18   policies involved laws and regulations that were already enforceable (and in several cases, had
19   actually been enforced), not Executive Orders directing further administrative action before
20   taking effect. See Mot. at 18 (citing cases). Indeed, Plaintiffs’ decision to bring this lawsuit
21
     13
22      Plaintiffs’ due process theory also fails in light of IEEPA’s scienter requirements for criminal
     liability. See United States v. Amirnazmi, 645 F.3d 564, 589-90 (3d Cir. 2011) (rejecting
23   vagueness challenge to IEEPA regulation because “‘this is a case where ignorance of the law is a
     defense”); 50 U.S.C. § 1705(c) (restricting criminal liability to those who act “willfully”).
24
     14
        This framework is not unique; IEEPA orders commonly identify broad subject matter of
25   concern while delegating the details of implementation and enforcement to one or more
26   administrative agencies. See, e.g., Exec. Order 13726, Blocking Propery and Suspending Entry
     Into the United States of Persons Contributing to the Situation in Libya, 81 Fed. Reg. 23559 §
27   1(a)(i) (Apr. 19, 2016) (charging the Secretary of the Treasury with determing which persons are
     “responsible for . . . actions or policies that threaten the peace, security, or stability of Libya”);
28
     id. § 8 (delegating further functions).
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 1   before the Secretary takes final action is why they can even complain of inadequate guidance, a
 2   fact that evinces not a due process violation, but an unripe claim, see supra at 17-19.
 3                    2.       Plaintiffs Are Not Likely to Succeed on Their First Amendment
                               Claims.
 4
                               a.      The Executive Order Is Content Neutral So Strict Scrutiny
 5                                     Does Not Apply.
 6           The Executive Order does not target protected expression; it targets transactions with
 7   Tencent relating to WeChat. While the Order’s implementation may incidentally impact speech
 8   that would otherwise occur on WeChat, any such effects are neutral with respect to content, and
 9   will affect, at most, only the time, place, or manner of speech. Thus, the Order need not satisfy
10   strict scrutiny or “be the least restrictive or least intrusive means” of promoting a governmental
11   interest; it must simply “promote[] a substantial government interest that would be achieved less
12   effectively” in its absence. Ward v. Rock Against Racism, 491 U.S. 781, 798 (1989).15
13           Seeking to evade this more permissive standard, Plaintiffs try to pigeonhole the
14   Executive Order as a content-based restriction on speech. The Court should reject this effort. A
15   speech restriction is content-based if it facially “draws distinctions based on the message a
16   speaker conveys . . . . [or] cannot be justified without reference to the content of the regulated
17   speech, or [if it was] adopted by the government because of disagreement with the message the
18   speech conveys[.]” Reed, 576 U.S. at 163-64 (cleaned up). None of these circumstances is
19   present here. No distinctions based on content appear on the face of the Executive Order, and
20   the justifications of the Order have nothing to do with the content of, or disagreement with, any
21   speech made on WeChat, but rather are premised on the PRC’s ability to use the app against core
22   national security interests of the United States. Exec. Order, 85 Fed. Reg. at 48641; see also
23   U.S. Strategic Approach to PRC at 5, Ex. 22 (“Beijing has intervened in sovereign nations’
24   internal affairs to engineer consent for its policies.”). Indeed, Plaintiffs concede that the
25   Executive Order affects expression “irrespective of content or the speaker’s intent[.]” Mot. at 2
26   (emphasis added).
27
     15
28     By contrast, a restriction that distinguishes based on the content of speech is subject to the
     demanding standard of strict scrutiny. See Reed v. Town of Gilbert, 576 U.S. 155, 166 (2015).
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 1   U.S. 622, 658 (1994). In other words, strict scrutiny applies to speaker-based laws when they
 2   function as a proxy for content discrimination. That is not the case here.
 3                             b.      The Executive Order Satisfies Intermediate Scrutiny.
 4           A content-neutral regulation survives constitutional scrutiny so long as it “advances
 5   important governmental interests unrelated to the suppression of free speech and does not burden
 6   substantially more speech than necessary to further those interests.” Pac. Coast Horseshoeing
 7   Sch., Inc. v. Kirchmeyer, 961 F.3d 1062, 1068 (9th Cir. 2020) (citation omitted). As a
 8   component of this analysis, courts also examine whether the regulation “leave[s] open adequate
 9   alternative opportunities” for speech or expression. See Lone Star Sec. & Video, 827 F.3d at
10   1202. The Executive Order satisfies each of these requirements.
11                                     i.       The Executive Order Advances Important Government
                                                Interests.
12
             The Executive Order is founded on Government interests of paramount importance:
13
     preventing the Chinese Government from using WeChat to surveil the American people, censor
14
     information, sow misinformation, and collect and use “vast swaths” of personal and proprietary
15
     information from American users to advance its own interests. See 85 Fed. Reg. at 48641. Such
16
     “sensitive and weighty interests of national security and foreign affairs” constitute critically
17
     important Government interests for purposes of a First Amendment analysis. Humanitarian Law
18
     Project, 561 U.S. at 33-34; see also Clancy, 2007 WL 1051767, at *6 (noting that IEEPA
19
     sanctions “relate[] to national security, the most compelling governmental interest”) (citing Haig
20
     v. Agee, 453 U.S. 280, 307 (1981)).17
21
             Plaintiffs suggest that the Order does not provide sufficient “evidence” of this threat to
22
     satisfy the Constitution. Mot. at 26. That is incorrect. “[W]hen the President adopts ‘a
23
     preventive measure . . . in the context of international affairs and national security,’ he is ‘not
24
     required to conclusively link all of the pieces in the puzzle before [courts] grant weight to [his]
25
26
     17
       Restrictions on speech are frequently justified by far less weighty interests. See, e.g., Turner
27   Broad. Sys., 512 U.S. at 647 (“protecting noncable households from loss of regular television
     broadcasting service” was an “important and substantial federal interest”); One World One
28
     Family Now, 76 F.3d at 1013 (same as to “visual blight caused by unsightly vendor stands”).
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 1   491 U.S. at 790-91. This is a low bar, as the Ninth Circuit has “cautioned against invalidating
 2   government regulations for failing to leave open ample alternative channels unless the regulation
 3   foreclose[s] ‘an entire medium of public expression[.]’” G.K. Ltd. Travel, 436 F.3d at 1074
 4   (emphasis added). In other words, the Executive Order should be upheld unless it completely
 5   prohibits an entire type of speech, such as: the distribution of pamphlets in a city, providing
 6   handbills on public streets, door-to-door solicitation, live entertainment, and signs outside one’s
 7   home. See City of Ladue v. Gilleo, 512 U.S. 43, 55 (1994) (collecting cases). Content-neutral
 8   regulations are generally upheld unless the plaintiffs’ “overall ‘ability to communicate
 9   effectively is threatened.’” Lone Star Sec. & Video, Inc., 827 F.3d at 1202 (citation omitted).
10           Plaintiffs do not argue that the Executive Order forecloses an “entire medium” of
11   communication, and for good reason. WeChat is not “an entire medium” of communication; it is
12   a single mobile application with numerous alternatives, as Plaintiffs concede. See, e.g., Decl. of
13   Wanning Sun ¶ 34, ECF No. 17-11 (explaining that many users of WeChat are switching over to
14   other social media applications such as “Line, Telegraph, and WhatsApp”); Decl. of Elaine Peng
15   ¶ 28, ECF No. 17-5 (conceding that she has “started the [process] of switching to Line”); Decl.
16   of Xiao Zhang ¶ 22, ECF No. 17-6 (explaining that he has starting preparing a website to replace
17   use of WeChat). To be sure, Plaintiffs aver that such alternatives may be less preferable due to
18   cost or functionality, but “[t]he First Amendment does not guarantee the right to employ every
19   conceivable method of communication at all times and in all places.” See Taxpayers for Vincent,
20   466 U.S. at 812. Indeed, both the Supreme Court and the Ninth Circuit have repeatedly rejected
21   the argument advanced by Plaintiffs, that their preferred method of communication must be
22   preserved when alternatives are available. See, e.g., id.; Christian Legal Soc. v. Martinez, 561
23   U.S. 661, 690 (2010) (upholding bar on “specific methods of communication,” in part because
24   “the advent of electronic media and social-networking sites reduces the importance of those
25   [specific] channels”); Kovacs v. Cooper, 336 U.S. 77, 88-89 (1949) (“That more people may be
26   more easily and cheaply reached by sound trucks . . . is not enough to call forth constitutional
27   protection . . . when easy means of publicity are open.”); Lone Star Sec. & Video, Inc., 827 F.3d
28   at 1202 (“[W]e will not invalidate the mobile billboard bans merely because they restrict

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 1   Appellants’ preferred method of communication.”); Foti v. City of Menlo Park, 146 F.3d 629,
 2   641 (9th Cir. 1998) (upholding restrictions on picket signs, despite claim that signs at issue were
 3   “the most effective means” of certain speech). 20
 4           Plaintiffs’ related argument, that alternatives will be less effective for communicating
 5   with persons in China, Mot. at 22-24, has no bearing on the analysis. That fact stems from the
 6   actions of the Chinese Government, not the United States. See Sun Decl. ¶ 14 (“Facebook,
 7   WhatsApp, and Twitter . . . and several other[ social media applications] – are banned in
 8   China.”). It is that “Great Firewall” of the PRC, not the Executive Order, that limits the ability
 9   of Americans to communicate with individuals in China. The First Amendment does not require
10   unfettered access to a social media application supported by the PRC and used against the
11   interests of the United States, simply because China has declined to make other alternatives
12   available for the Chinese people. Because the Executive Order leaves open ample alternative
13   avenues of communication, it is constitutional under the First Amendment.
14                    3.       Plaintiffs Are Not Likely to Succeed on their Ultra Vires Claims.
15           Plaintiffs’ final theory, that the Executive Order is ultra vires because it conflicts with 50
16   U.S.C. § 1702(b), Mot. at 31-34, is similarly lacking in merit. Even assuming the Court can reach
17   this argument when Congress expressly disclaimed any intent to create a cause of action under
18   section 1702, see supra at 20-21 & n.12, the exceptions to the President’s IEEPA authority in
19   section 1702(b) do not preclude the President’s actions.
20           First, there is no bar under subsection (b)(1). That provision removes from the
21   President’s IEEPA authority the ability to prohibit or regulate “any personal communication,
22   which does not involve a transfer of anything of value.” As set forth above, the Executive Order
23   does not prohibit personal communications; it prohibits (as-yet-to-be-identified) “transactions . . .
24   with Tencent . . . or any subsidiary,” relating to WeChat. Exec. Order § 1(a) (emphasis added).
25   20
       See also Def. Distributed v. U.S. Dep’t of State, 121 F. Supp. 3d 680, 695 (W.D. Tex. 2015)
26   (First Amendment permitted prohibition on Internet posting of firearm blueprints, as restriction
     “does not impose an insurmountable burden on [p]laintiffs’ domestic communications[,]” and
27   plaintiffs were “free to disseminate the computer files at issue domestically in public or private
     forums, including via the mail or any other medium that does not provide the ability to
28   disseminate the information internationally”), aff’d, 838 F.3d 451 (5th Cir. 2016).

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 1   While such prohibitions could as a practical matter impact a user’s ability to use the app to
 2   communicate, communications may continue to occur through a range of other platforms. See
 3   supra at 30-32. Furthermore, communications conducted through WeChat do involve a transfer
 4   of value: users exchange their personal data and content for the right to use WeChat services.
 5   See Ex. 25, WeChat Terms of Service, at 7 (“When you . . . use . . . WeChat[,] . . . you
 6   understand and agree that . . . you are giving us and our affiliate companies a perpetual, non-
 7   exclusive, transferable, sub-licensable, royalty-free, worldwide license to use Your Content (with
 8   no fees or charges payable by us to you))”; see also Mot. at 12 claiming that “the app’s Terms
 9   and Conditions [are] agreed to by its user base”). Section 1702(b)(1) is thus inapplicable.
10           Sections 1702(b)(2) and (b)(4), regarding humanitarian aid and transactions incident to
11   travel, also pose no bar to the Order because they do not regulate or prohibit these activities,
12   either directly or indirectly. Plaintiffs’ theory (to the extent discernable) appears to be that
13   because WeChat users sometimes use the app as a mechanism to arrange these activities, or
14   because such arrangements are allegedly more convenient when done through WeChat, any
15   prohibition on WeChat is akin to a prohibition on the activities themselves. See Mot. at 33. That
16   is incorrect. Millions of people in this country arrange travel and charitable donations every day
17   without the use of WeChat, and Plaintiffs are free to use a panoply of other mechanisms to do the
18   same, including through such widely available means as telephone, email, a vast number of
19   eCommerce sites, online banking services, facsimile, credit card services, wire transfers, instant
20   messaging, and a range of other social media apps and online services, as well as translation
21   software if necessary21; they simply may not be able to use WeChat. If Plaintiffs may face
22   obstacles or burdens in arranging charitable activities or travel plans without access to WeChat,
23   those obstacles are not even “indirect” regulation as they flow not from the Executive Order but
24   from the anticompetitive and restrictive policies of the PRC, which have excluded Western social
25   media companies from operation in mainland China and promoted the spread of Tencent.
26
27   21
       A quick Google search for “English Mandarin translation” and “English Mandarin translation
28   Chinese characters” immediately brings up a host of software offering these services.

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 1           Finally, section 1702(b)(3) is also inapposite. That provision excepts from the
 2   President’s authority under IEEPA the power to regulate or prohibit the importation or
 3   exportation of information or informational materials. But WeChat itself is not “information” or
 4   “information materials”; it is a set of services through which such information can be conveyed.
 5   See generally WeChat Terms of Service, Ex. 25 (repeatedly referring to the app as a suite of
 6   “services”). The regulation of a single service provider that facilitates the transmission of
 7   information to the PRC is not akin to regulating or prohibiting transmission of information or
 8   informational materials themselves, or even an entire “medium of transmission.” Any
 9   construction that would collapse that distinction between restricting the flow of information writ
10   large, and restricting a single service provider (with ties to a foreign adversary), would amount to
11   a wholesale truncation of the President’s ability to protect the country’s information supply
12   chains in a way that Congress could not have intended. For example, it is unfathomable that
13   Congress intended through section 1702(b) to limit the President’s ability to prevent a foreign
14   government from setting up a parallel postal system in the United States or dominating the
15   country’s data services. Yet that absurd conclusion would necessarily flow from interpreting
16   subsection (b)(3) in the way Plaintiffs suggest. There is no indication that Congress intended
17   that outcome. See King v. Burwell, 576 U.S. 473, 494 (2015) (rejecting interpretation because it
18   was “implausible that Congress meant the Act to operate in this manner”). 22
19           To the extent Plaintiffs suggest that the app itself (rather than user content) is an
20   “informational material” within the meaning of subsection (b)(3), that too is plainly incorrect.
21   The list of examples of “informational materials” in this subsection all pertain to distinct types of
22
     22
23      There is every indication that Congress did not so intend. The President issued the ITCS
     Order more than a year ago, and Congress has taken no action to suggest that he is acting outside
24   of his authority. Moreover, Congress has expressly authorized the President to “block and
     prohibit all transactions” with foreign persons that facilitate or benefit from the significant
25   appropriation of certain United States information through “economic or industrial espionage in
26   cyberspace,” 50 U.S.C. § 1708(b)(2), thereby evincing an understanding that the President may
     prohibit and regulate the electronic transmission of information in cyberspace with respect to
27   companies affiliated with China. The many expressions of Congressional concern about PRC-
     related technology companies also support the President’s invocation of IEEPA in these
28
     circumstances. See supra at 4-11.
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 1   media; i.e., physical embodiments of information in fixed form—such as “films, posters,
 2   phonograph records, photographs, microfilms, microfiche, tapes, compact disks,” and the like.
 3   50 U.S.C. § 1702(b)(3). WeChat is categorically different. It is, by its own terms, a “diverse”
 4   set of services, that (among other things) manipulates, collects, processes, transmits, brokers, and
 5   sells information, see WeChat Terms of Service at 2-6, Ex. 25, thus bearing no resemblance to
 6   the list of fixed media in the statutory text. See Yates v. United States, 574 U.S. 528, 546 (2015)
 7   (“Had Congress intended ‘tangible object’ in § 1519 to be interpreted so generically[,] . . .
 8   Congress would have had no reason to refer specifically to [the narrower examples given]”);
 9   CSX Transp., Inc. v. Ala. Dep’t of Revenue, 562 U.S. 277, 295 (2011) (invoking the canon
10   “ejusdem generis to ensure that a general word will not render specific words meaningless”). 23
11   Moreover, if WeChat was simply an “informational material[],” there would be no need for a
12   Terms of Service to define the user’s ongoing legal relationship with WeChat.
13           Finally, even if the WeChat app otherwise fell within section 1702(b)(3), it would be
14   excluded from that carveout by the second sentence of that paragraph, which excepts from the
15   exception “acts . . . prohibited by chapter 37 of Title 18.” Chapter 37 of Title 18, in turn,
16   prohibits transmission of “information relating to the national defense” to any foreign
17   government with reason to believe that it could “be used to the injury of the United States or to
18   the advantage of a foreign nation.” 18 U.S.C. § 794; see also id. §§ 793(e), (f) (prohibiting
19   similar activities, whether willful or grossly negligent in violation of a duty of trust). Because
20   the WeChat Order takes action to prevent exactly such harms, and contemplates that the vast
21   swaths of user information collected by WeChat is information relating to the national defense, it
22   falls outside any limitations otherwise posed by section 1702(b)(3).
23                    4.       Plaintiffs Have Waived Any Remaining Claims on this Motion.
24           In a single footnote Plaintiffs briefly allude to their claim under RFRA, but present no
25   argument as to why they are entitled to a preliminary injunction on the basis of this claim. See
26
     23
       See also 31 C.F.R. § 560.210(c)(2) (interpreting section 1702(b)(3) not to extend to
27   “information or informational materials not fully created . . . at the date of the transactions, or to
     the . . . alteration . . . of informational materials, or to the provision of [certain] services.”);
28
     Amirnazmi, 645 F.3d at 587 (upholding that interpretation as reasonable under Chevron).
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 1   Mot. at 23 n. 4 (stating without explanation that “[t]he EO places a substantial burden on
 2   Plaintiffs’ ability to practice their religion”). Plaintiffs have accordingly waived any argument
 3   founded on their RFRA claim at this stage. See, e.g., Recycle for Change v. City of Oakland, 856
 4   F.3d 666, 673 (9th Cir. 2017) (holding that plaintiff waived an argument “because it never raised
 5   it in its briefs, other than in a terse one-sentence footnote”). Moreover, Plaintiffs’ claims of
 6   inconvenience regarding certain religious activities are entirely conclusory and do not on their
 7   face suggest any substantial burden on the exercise of religious.
 8   III.    Plaintiffs Have Failed To Establish Irreparable Harm.
 9           A preliminary injunction serves the “limited purpose” of “preserv[ing] the relative
10   positions of the parties until a trial on the merits can be held.” Univ. of Tex. v. Camenisch, 451
11   U.S. 390, 395 (1981). Accordingly, “[a]n essential prerequisite” before granting a preliminary
12   injunction is a showing that irreparable injury is likely in the absence of an injunction. See
13   Dollar Rent A Car of Wash., Inc. v. Travelers Indem. Co., 774 F.2d 1371, 1375 (9th Cir. 1985);
14   Winter, 555 U.S. at 19-20. “[I]rreparable harm” is traditionally defined as harm for which there
15   is no adequate legal remedy, such as an award of damages. Ariz. Dream Act Coal. v. Brewer,
16   855 F.3d 957, 978 (9th Cir. 2017). Such harm must also be “concrete and particularized.” Koff
17   v. Ahern, No. 14-cv-04680, 2015 WL 1050167, at *3 (N.D. Cal. Mar. 9, 2015). This standard is
18   demanding: “Mere injuries, however substantial, in terms of money, time and energy . . . are not
19   enough,” and “[t]he possibility that adequate . . . relief will be available at a later date . . . weighs
20   heavily against a claim of irreparable harm.” Sampson v. Murray, 415 U.S. 61, 90 (1974).
21           Plaintiffs contend that they have suffered a variety of injuries justifying injunctive relief,
22   including experiencing “confusion, anxiety, fear, and . . . panic[,]” as well as devoting “time
23   researching the possible scope of the EO.” Mot. at 35. However, as evidenced by Plaintiffs’
24   failure to cite a single case supporting their argument, see id. at 35-37, these purported injuries
25   are insufficient to justify the extraordinary relief they demand.
26           First, Plaintiffs argue that “[u]ncertainty and fear of being subject to criminal prosecution
27   and/or civil penalties for merely using WeChat has caused confusion, anxiety, and fear among
28   Plaintiffs.” Id. But these concerns are entirely conjectural given that the Secretary has not yet

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 1   defined the prohibited transactions, and as such fail to constitute an irreparable injury. See
 2   Koller v. Brown, 224 F. Supp. 3d 871, 879 (N.D. Cal. 2016); Goldie’s Bookstore, Inc. v.
 3   Superior Court, 739 F.2d 466, 472 (9th Cir. 1984). Plaintiffs similarly speculate that they will
 4   be “cut off from [their] entire social network[,]” Mot. at 35, or that the Order will “alter [their]
 5   legal rights and obligations” at all, id. at 37. Such allegations fall short of showing “immediate
 6   threatened injury.” Caribbean Marine Servs. Co. v. Baldrige, 844 F.2d 668, 674 (9th Cir. 1988)
 7   (citation omitted); accord Winter, 555 U.S. at 22 (injury must be likely, not possible).
 8           Plaintiffs also describe harms that are not adequately concrete. These include Plaintiffs’
 9   feelings of “uncertainty,” “fear,” “confusion,” “anxiety,” “concern,” “worr[y],” and low morale,
10   Mot. at 35-36. Cf. Clay v. Fort Wayne Cmty. Sch., 76 F.3d 873, 877 n.4 (7th Cir. 1996)
11   (“[A]morphous psychological injuries [are] insufficient to confer standing.”). While Plaintiffs
12   may be frustrated that the Secretary has not yet issued regulations, Mot. at 35, or that they may
13   have to engage in a data-transfer process that they find “mind-numbing[,]” id. at 35-37, these are
14   not cognizable injuries, let alone irreparable ones. Cf. Gest v. Bradbury, 443 F.3d 1177, 1182
15   (9th Cir. 2006) (“[F]eelings of frustration . . . are not sufficiently concrete to constitute the
16   ‘injury-in-fact’ required for Article III standing.” (citations omitted)); see also Caribbean Marine
17   Servs. Co., 844 F.2d at 676 (“mere . . . inconvenience will not support the crew members’ claim
18   of irreparable injury to their constitutional rights”). Moreover, to the extent these feelings flow
19   from uncertainty regarding the final impact of the Executive Order, they will not be redressed by
20   preliminary relief, which is time-limited and subject to review and thus uncertain itself.
21           Many of the other alleged harms identified by Plaintiffs pertain to events that have
22   already occurred. See Mot. at 35 (“Plaintiffs have spent an enormous amount of time
23   researching the possible scope of coverage of the EO.”); id. at 36 (“Some of Plaintiff Chihuo
24   Inc.’s clients have already stopped working with the company[.]”); id. (“Plaintiffs have been
25   forced to spend their limited time, energy, and resources researching other U.S. based social
26   media platform options.”). Such past harms, even if true, are insufficient, as “[t]he purpose of a
27   preliminary injunction is not to remedy past harm but to protect plaintiffs from irreparable injury
28

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 1   that will surely result without [its] issuance.” Conte v. Transglobal Assets, No. 2:12-cv-01005,
 2   2012 WL 4092717, at *1 (D. Nev. Sept. 17, 2012) (citation omitted).
 3           In addition, insofar as Plaintiffs allege that their business interests have suffered or will
 4   suffer, see Mot. at 36-37, such harms are not irreparable and thus are not a proper basis for a
 5   preliminary injunction. See, e.g., Los Angeles Mem’l Coliseum Comm’n, 634 F.2d at 1202. The
 6   same is true of Plaintiffs’ assertions regarding their use of “time, energy, and resources[,]” Mot.
 7   at 36; see also id. at 35; Los Angeles Mem’l Coliseum Comm’n, 634 F.2d at 1202.
 8           Nor can Plaintiffs advance their argument by claiming that “[t]he EO . . . deprives
 9   Plaintiffs of their First and Fifth Amendment rights, and therefore constitutes irreparable harm.”
10   Mot. at 38. This pro forma statement is insufficient to carry Plaintiffs’ burden, particularly in
11   light of Defendants’ demonstration above that Plaintiffs’ rights have not been violated. Further,
12   the cases on which Plaintiffs rely, Mot. at 37, reveal the comparative weakness of their claim of
13   irreparable harm. See Melendres v. Arpaio, 695 F.3d 990, 1002 (9th Cir. 2012) (plaintiffs
14   threatened with detention); Washington v. Trump, 847 F.3d 1151, 1169 (9th Cir. 2017) (order
15   purportedly “separated families” and “stranded the States’ residents abroad”). The First
16   Amendment cases cited by Plaintiffs likewise found irreparable harm based on an actual
17   deprivation of constitutional rights. See Associated Press v. Otter, 682 F.3d 821, 826 (9th Cir.
18   2012), cited in Mot. at 37 (plaintiffs harmed “by the denial of their right to observe this
19   execution”); Warsoldier v. Woodford, 418 F.3d 989, 1001 (9th Cir. 2005), cited in Mot. at 37-38
20   (challenged policy “forces [the plaintiff] to choose between following his religious beliefs and
21   suffering continual punishment, and abandoning his religious beliefs to avoid such punishment”).
22   Here, by contrast, Plaintiffs face not a deprivation, but at most a potential and incidental burden
23   on their ability to communicate through a medium they prefer. See Goldie’s Bookstore, Inc., 739
24   F.2d at 472 (explaining that only the “purposeful . . . suppression of speech constitutes
25   irreparable harm for preliminary injunction purposes”); see also Hohe v. Casey, 868 F.2d 69, 73
26   (3d Cir. 1989) (“[I]t is the ‘direct penalization, as opposed to incidental inhibition, of First
27   Amendment rights [which] constitutes irreparable injury.’” (citation omitted)).
28

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 1   IV.     The Balance of the Equities Weighs Against A Preliminary Injunction.
 2           Plaintiffs likewise cannot show the balance of equities tips in their favor. Drakes Bay
 3   Oyster Co. v. Jewell, 747 F.3d 1073, 1092 (9th Cir. 2014). At stake here are significant national
 4   security and foreign policy interests, that weigh strongly against an injunction. See Winter, 555
 5   U.S. at 24; cf. United States v. South Carolina, 720 F.3d 518, 533 (4th Cir. 2013); Escamilla v.
 6   M2 Tech., No. 12-634, 2013 WL 4577538, at *4 (E.D. Tex. Aug. 27, 2013). Additionally, any
 7   entry of an order that substitutes the views of WeChat users for that of the Executive Branch
 8   would not serve the public interest. See Virginian Ry. Co. v. Sys. Fed’n No. 40, 300 U.S. 515,
 9   552 (1937) (statutory scheme “is in itself a declaration of public interest and policy which should
10   be persuasive” to courts). The injunction Plaintiffs seek would frustrate and displace the
11   President’s determination of how best to address threats to national security. Milena Ship Mgmt.
12   Co. v. Newcomb, 804 F. Supp. 846, 854 (E.D. La. 1992) (holding that injunction “unblocking the
13   plaintiffs’ vessels and bank accounts before a full hearing on the merits of OFAC’s blocking
14   decisions would risk impermissible interference with Executive and Congressional decisions”). 24
15           By comparison, any harm that Plaintiffs may suffer—including “expend[ing] resources”
16   and harboring unfounded “worry,” Mot. at 38—is minimal. This is especially so given that the
17   Secretary will be issuing regulations delineating the identified transactions a mere three days
18   after Plaintiffs’ motion is heard by this Court. Nor can Plaintiffs bolster their argument by
19   misconstruing the Executive Order as a “ban on speech, association, and religion in the United
20   States,” Mot. at 38, or “discrimination by a government entity on the basis of race, ethnicity,
21   nationality, national original, and alienage[,]” id. at 39-40. The Executive Order is nothing of the
22   sort, and Plaintiffs have not established otherwise. And insofar as Plaintiffs’ argument is
23   premised on their theory that the Executive Order violates their constitutional rights, see id., it
24   fails for the reasons discussed above.
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     24
       Plaintiffs suggest these concerns are not weighty in light of the Order’s timing. Mot. at 38-39.
26   But decisions regarding how to address threats from abroad “involve significant political
     ramifications[,]” and, “[a]ccordingly, the Court must defer to the Executive’s discretion on the
27
     timing of those . . . decisions.” Holy Land Found., 219 F. Supp. 2d at 74 n.28. And Plaintiffs
28   offer no authority for the proposition that the President must disclose “evidence” to support his
     non-reviewable determination, particularly when that evidence may be privileged or classified.
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 1   Dated: September 8, 2020                            Respectfully submitted,
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